    Case 2:17-cv-00212-PLM-TPG ECF No. 37 filed 11/27/18 PageID.307 Page 1 of 1
 


                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION

KEVIN LABELLE,                           )
           PLAINTIFF,                    )
                                         )     NO. 2:17-CV-212
v.                                       )
                                         )     HONORABLE PAUL L. MALONEY
CLEVELAND CLIFFS, INC.,                  )
          DEFENDANT.                     )
                                         )

                                      JUDGMENT
         In accordance with the opinion and order entered on this date, and pursuant to

Federal Rule of Civil Procedure 58, JUDGMENT hereby enters.

         IT IS SO ORDERED.

Date: November 27, 2018                                        /s/ Paul L. Maloney
                                                            Paul L. Maloney
                                                            United States District Judge




 
